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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3054
           v.                        )
                                     )
MARTIN D. LOSBY,                     )
                                     )                   ORDER
                Defendants.          )
                                     )



     IT IS ORDERED:

     Defendant’s motion to modify conditions of release, filing
11, is granted, and Paragraph (7)(e) of the Order Setting
Conditions of Release, filing 10, is amended to provide that in
lieu of employment, defendant shall maintain full-time,
verifiable school enrollment and schooling.

     DATED this 26th day of April, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
